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                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

    UNITED STATES COMMODITY FUTURES                     )
    TRADING COMMISSION,                                 )
                                                        )
                        Plaintiff,                      )
                                                        )
         v.                                             )   Case No. 1:12-cv-07127
                                                        )
    NIKOLAI SIMON BATTOO; BC CAPITAL                    )   Hon. Edmond E. Chang
    GROUP S.A.; BC CAPITAL GROUP                        )
    INTERNATIONAL LIMITED a/k/a BC CAPITAL              )
    GROUP LIMITED a/k/a BC CAPITAL GROUP                )
    GLOBAL; AND BC CAPITAL GROUP                        )
    HOLDINGS S.A.,                                      )
                                                        )
                                Defendants.             )

                 RECEIVER’S TENTH AND FINAL FEE APPLICATION

        Robb Evans & Associates LLC (the “Receiver”), the Court-appointed receiver of

Defendants Nikolai Simon Battoo (“Battoo”) and the BC Common Enterprise1 (collectively with

Battoo, the “Defendants”) submits this Tenth and Final Fee Application seeking approval to pay

fees and expenses of the Receiver and professionals retained by the Receiver during the more

than 18-month period from January 1, 2018, through June 30, 2019 (the “Tenth Interim Period”),

plus authority to pay the actual additional fees incurred from July 1, 2019, through the closing of

this receivership up to the amounts estimated below. Specifically, during the Tenth Interim

Period, the Receiver incurred professional fees of $160,535.10 and net out-of-pocket costs of




1
 As defined in the Preliminary Injunction, the “BC Common Enterprise” consists of BC Capital
Group S.A., BC Capital Group International Limited a/k/a BC Capital Group Limited a/k/a BC
Capital Group Global, and BC Capital Group Holdings S.A.
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$22,345.32. The Receiver’s counsel, Hiltz Zanzig & Heiligman LLC2, incurred fees and costs

totaling $85,007.04.

         In addition, the Receiver has reserved a total of approximately $76,000 to cover

estimated fees and expenses that the Receiver and its counsel may need to incur from July 1,

2019, through the close of the case, including professional fees and costs for winding down the

Bahamian proceedings and out-of-pocket expenses required for preparing final tax returns. The

Receiver requests authority to pay the actual reasonable and necessary fees and expenses up to

such amount. In its closing motion filed concurrently with this motion, the Receiver requests

authority to turn over to the CFTC any reserve amounts not actually used.

         In preparing this fee application, the Receiver has consulted and followed the Billing

Instructions for Receivers in Civil Actions Commenced by the U.S. Commodity Futures Trading

Commission (the “Billing Information”). In further support of its application, the Receiver states

as follows:

                                         BACKGROUND

A.       RECEIVER’S APPOINTMENT

         On September 27, 2012, the Court appointed Robb Evans & Associates LLC as receiver

over the “Defendants and their affiliates and subsidiaries, and of all the funds, properties,

premises, accounts, businesses, partnerships, sole proprietorships and any other kinds of assets

directly or indirectly owned, beneficially or otherwise, managed or controlled by the Defendants,

whether held in their own names or in the names of others (‘Receivership Assets’).” (Prel. Inj.

[Dkts #22] ¶ 41.) To assist in the performance of the Receiver’s duties, the Court authorized the

Receiver to choose and employ professionals, including legal counsel. (Id. ¶ 42(H).)



2
    In March 2019, Hiltz & Zanzig LLC changed its name to Hiltz Zanzig & Heiligman LLC.


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B.       FINANCIAL STATUS OF RECEIVERSHIP ESTATE

         The Receiver has prepared a detailed accounting (the “Fund Balance Report”) of all

funds taken into the receivership estate, and expenses incurred by the receivership estate through

June 30, 2019, plus its estimate of expenditures through the anticipated close of the receivership.

(See Ex. A (Fund Balance Report).) To provide a complete overview of the financial status of

the receivership, such expenses include fees and expenses that have been incurred but not yet

approved (and therefore not paid). Through the anticipated close of the case, the Receiver

estimates it will have assumed control of funds totaling $30,154,748.04. From those amounts,

the Receiver transferred $9 million to the BVI Liquidators as part of its settlement of the BVI

Liquidators’ claims to nearly all of the receivership assets. The Receiver estimates that by the

close of the Receivership Estate, the receivership will have incurred total fees and expenses of

$8,411,082.59 (including all fees and costs that are pending Court approval), a substantial

portion of which were incurred by overseas professionals necessitated by the far-flung scope of

Battoo’s fraud. Finally, the Receiver distributed $12,743,665.45 to claimants.

         Based on funds in hand, the Receiver is holding sufficient funds to pay all fees and costs

requested in this application.

C.       PRIOR FEE APPLICATIONS

         The Receiver has previously submitted the following nine omnibus fee applications

covering the 63 months from the inception of the receivership through December 31, 2017:

     •   1st Fee App. [Dkt. No. 156] (covering approximately 5-month period from September 27,
         2012, through February 28, 2013);

     •   2nd Fee App. [Dkt. No. 222] (covering 6-month period from March 1, 2013, through July
         31, 2013);

     •   3rd Fee App. [Dkt. No. 331] (covering 10-month period from August 1, 2013, through
         May 31, 2014);



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   •   4th Fee App. [Dkt. No. 436] (covering the 10-month period from June 1, 2014, through
       April 30, 2015);

   •   5th Fee App. [Dkt. No. 518] (covering approximately 12-month period from May 1, 2015
       through May 31, 2016);

   •   6th Fee App. [Dkt. No. 552] (covering 4-month period from June 1, 2016 through
       September 30, 2016);

   •   7th Fee App. [Dkt. No. 567] (covering 6-month period from October 1, 2016, through
       March 31, 2017);

   •   8th Fee App. [Dkt. No. 590] (covering 5-month period from April 1, 2017, through July
       31, 2017); and

   •   9th Fee App. [Dkt. No. 602] (covering 5-month period from August 1, 2017, through
       December 31, 2017)

       The Court has issued several orders addressing professional compensation. On June 25,

2013, the Court granted the Receiver’s first fee application. (See Order [Dkt. No. 166].) On

December 20, 2013, in light of restrictions on overseas counsel from working on a contingent

basis, the Court authorized the Receiver to make additional necessary expenditures to carry on

the Guernsey litigation. (See Order dated 12/20/2013 [Dkt. No. 232]; see also Order dated

1/3/2016 [Dkt. No. 495].) On January 3, 2016, the Court approved an interim distribution of

50% of fees and expenses requested in the Receiver’s second, third, and fourth fee applications,

reserving a decision on the balance sought in those fee applications for a later time. (See Order

dated 1/3/2016 [Dkt. No. 495].) On December 1, 2016, the Court approved the Receiver’s fifth

fee application, plus the outstanding balance of out of pocket expenses originally requested in the

Receiver’s second, third, and fourth fee applications. (See Order dated 12/1/2016 [Dkt. No.

534].) On March 15, 2017, the Court approved the Receiver’s sixth fee application. (See Order

dated 3/15/2017 [Dkt. # 556].) On August 9, 2017, the Court approved the Receiver’s seventh

fee application. (See Order dated 8/9/2017 [Dkt. # 582].) On November 15, 2017, the Court

approved the Receiver’s eighth fee application. (See Order dated 11/15/2017 [Dtk. #593].) On


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May 22, 2018, the Court approved the Receiver’s ninth fee application. (See Order dated

5/22/2018 [Dkt. #605].) On September 11, 2018, the Court approved the balance of

professional fees outstanding that the Receiver originally sought in its second, third and fourth

fee applications. (See Order [Dkt. #624].)

        Additionally, on January 19, 2016, the Court approved in part the Receiver’s proposed

claims verification budget authorizing the Receiver to pay hard costs and fees up to budgeted

amounts as incurred in connection with the claims process without further motion.

       Table 1 below summarizes the status of all fees and expenses previously paid to the

Receiver and its current counsel pursuant to the forgoing orders.

Table 1:
Status of Prior Requested Fees and Expenses

                                                                           Hiltz &
                                                Robb Evans &
           Professional                                                  Zanzig LLC
                                                Associates LLC
              (Role)                                                (Receiver’s Domestic
                                                  (Receiver)
                                                                          Counsel)
                            Requested           $2,680,264.55            $189,523.26
               Fees       Approved/Paid         $2,680,264.55            $189,523.26
                              Pending                $0.00                  $0.00
                            Requested             $82,809.38               $426.42
            Expenses      Approved/Paid           $82,809.38               $426.42
                              Pending                $0.00                  $0.00



D.     Status of Claims Processing and Distribution.

       Following the conclusion of its claims processing, the Receiver identified 1,100 claims,

with some investors having multiple claims as a result of separate efforts by institutional

investors like Acadia and the Maven Liquidators to verify claim on some investor’s behalf.

Following its extensive efforts to verify claims, the Receiver sought approval of total claims in



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the amount of $165,754,443.69. On December 27, 2018, the Court entered its order approving

the Receiver’s Plan of Distribution, and Treatment of Claims. (Order [Dkt. #647].) During the

last week of February 2019, the Receiver began paying claimants their pro-rata share of net

receivership assets. The Receiver ultimately distributed $12,743,665.45 to claimants providing

an approximate recovery of 7.7% relative to approved claims.

                        APPLICATION FOR FEES AND EXPENSES

       In seeking approval of professional fees and expenses, the Receiver makes a prima facie

case in support of the requested fees by preparing an application from which the amount of its

fees and expenses are readily and reasonably ascertained. See FTC v. Capital Acquisitions &

Mgmt. Corp., No. 04 C 7781, 2005 U.S. Dist. LEXIS 18504, *11-12 (N.D. Ill. Aug. 26, 2005).

Provided that the Receiver submits sufficient detail to establish such a prima facie case, the fees

shall be deemed presumptively reasonable. Id. (citing In re Hunt's Health Care, 161 B.R. 971

(Bankr. N.D. Ind. 1993)). A party opposing a fee application “must carry the burden of

explaining what therein is unreasonable.” See Capital Acquisitions, 2005 U.S. Dist. LEXIS

18504 at *12 (citing In re Blackwood Assoc., L.P., 165 B.R. 108, 112 (Bankr. E.D.N.Y. 1994).)

“A party objecting to a fee application may not do so based on the general proposition that the

fee sought is simply too much.” Hunt's Health Care, 161 B.R. at 982; see also In re Continental

Ill. Sec. Litigation, 962 F.2d 566, 570 (7th Cir. 1992) (reversing reduction of attorney fees based

only on “gestalt reaction” that fees were too high). Instead, “the objector must, at some point,

identify any allegedly improper, insufficient, or excessive entries and direct the court's attention

to them.” Id. Moreover, while the awarding of fees to a receiver rests in the Court’s discretion,

in receiverships created at the request of a federal agency, the Court should afford “great weight”

to the agency regarding the award of fees to the receiver and its counsel. SEC v. First Sec. Co.,




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528 F.2d 449, 451 (7th Cir. Ill. 1976) (citing S.E.C. v. Fifth Avenue Coach Lines, Inc., 364 F.

Supp. 1220, 1222 (S.D.N.Y. 1973).); SEC v. Custable, No. 94 C 3755, 1995 U.S. Dist. LEXIS

3279, at *20 (N.D. Ill. March 15, 1995) (“In securities law receiverships, the position of the SEC

in regard to the awarding of fees will be given great weights.”).

I.         RECEIVER’S FEES AND EXPENSES

           As detailed below, for the Tenth Interim Period, i.e. January 1, 2018, through June 30,

2019, the Receiver seeks approval of fees of $160,535.10 and costs of $22,345.32.

           A.       Summary of Principal Activities.

           As prescribed by the CFTC’s Billing Instructions, the Receiver has tracked the services

provided by its personnel through 15 different activity categories.3 During the Tenth Interim

Period, the Receiver’s personnel recorded time in five of those activities: (a) Asset Analysis and

Recovery; (b) Case Administration; (c) Claims Administration; (d) Accounting & Auditing; (e)

Joint Official Liquidators; and (f) Tax and Corporate Finance Issues. Table 2 below summarizes,

by activity category, the Receiver’s personnel who provided services on behalf of the Receiver

during the Final Period, their respective billing rate, and the number of hours each worked:

Table 2:
Summary of Services Performed by Individual and Activity: Final Period – January 1, 2018 to
June 30, 2019.

                                Asset   Case   Claims     Acct. &         Tax &   Total
     Professional     Rate                                          JOL                   Total Fees
                                Rec.    Adm.   Admin.     Audit.           Fin.   Time
    Brick Kane        $301.50    .9     11.9    13.9        0       1.5     0      28.2     $8,502.30
    Anita Jen         $301.50    0      5.9     7.5        3.8      0      .5      17.7     $5,336.55
    Flora Jen         $301.50    0       .6    456.7       7.2      0       0     464.5   $140,046.75

3
  The fifteen activity categories are: (1) Asset Analysis and Recovery; (2) Asset Disposition; (3)
Business Operations; (4) Case Administration; (5) Claims Administration and Objections; (6)
Employee Benefits/ Pension; (7) Accounting/Auditing; (8) Business Analysis; (9) Corporate
Finance; (10) Status Reports; (11) Litigation Consulting; (12) Forensic Accounting; (13) Tax
Issues; (14) Valuation; (15) Joint Liquidation.


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                             Asset   Case     Claims      Acct. &         Tax &   Total
  Professional      Rate                                            JOL                   Total Fees
                             Rec.    Adm.     Admin.      Audit.           Fin.   Time
 H. Jen               $135     0       0       26.7         0       0      0       26.7     $3,604.50
 C. DeCius             $90     0       0        1.8        21.1     0      0       22.9     $2,061.00

 Support Staff         $30     0       0       32.8         0       0      0       32.8      $984.00
                    TOTAL:     .9     18.4     539.4       32.1     1.5    .5     592.8   $160,535.10


          Below, the Receiver summarizes the work performed during the Final Period for each

category for which it seeks approval:

Asset Analysis and Recovery

          In connecting with the wind-down of the Hong Kong proceedings the Receiver

investigated and prepared demands to turnover residual balances in any remaining bank

accounts. During the Tenth Interim Period the Receiver spent .9 hours on such activities and

requests approval of the corresponding $271.35 in fees.

Accounting/Auditing

          During the Tenth Interim Period, the Receiver performed necessary and customary

accounting operations, including reviewing and recording vendor invoices, processing payables,

reconciling bank statements, reviewing related matters, and otherwise maintaining accounting

records. The Receiver also compiled financial information used to inform the Court and parties

on the status of receivership estate assets. The Receiver devoted a total of 32.1 hours to

accounting/auditing activities during the Tenth Interim Period for which it seeks approval of

$5,215.50 in corresponding fees.

Case Administration

          During the Tenth Interim Period, activities billed to case administration by the Receiver

include time spent coordinating with overseas counsel to conclud proceedings in Guernsey and

Hong Kong. The Receiver also devoted time to effectuating the terms of its settlement with the



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BVI Liquidators. Further, the Receiver remained apprised of developments in this matter by,

among other things, reviewing and analyzing relevant pleadings and coordinating with counsel to

prepare appropriate responses. The Receiver devoted 18.4 hours to case administration activities

and seeks approval of the corresponding $5,547.60 in fees.

Claims Administration

       During the Tenth Interim Period, the Receiver continued to coordinate with investors and

their representatives regarding the status of their claims, including conducting appropriate

research into their inquiries. Among other investors, the Receiver assisted its counsel in

responding to various inquiries by Texas counsel representing a class of claimants. The Receiver

also worked with the Maven Liquidator to verify investor claims arising from investments

funneled through Maven-related entities. The Receiver also reviewed and assisted its counsel in

responding to correspondence from Alliance Investment Management relating to the status of

claims in the BVI Liquidation.

       Most significantly, during the Tenth Interim Period, the Receiver finalized all claims

amounts and prepared its proposed plan of distributions. In addition to addressing specific

investor inquiries triggered by the proposed plan, the Receiver worked extensively with its

counsel in both finalizing the distribution procedures and proposed plan. Once the Court

approved notice procedures, the Receiver then implemented them by preparing and distributing

notices to claimants with instructions for verifying their final approved claim and instructions for

raising objections, if any. Once notice was provided, the Receiver also devoted substantial time




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to resolving both formal and informal objections to claim amounts and terms of the plan,

including responding to still further investor inquiries.

       Finally, after objections were resolved and the proposed plan, as amended, was approved,

the Receiver went about the further process of effectuating the distribution of claims both

domestically and internationally. Such activities required responding to new investor inquiries

prompted by the approval of the plan, and coordinating with bank personnel to implement

electronic distributions or payment by cashier’s check as appropriate to particular claimants.

        During the Tenth Interim Period, the Receiver devoted a total of 539.40 hours to claims

administration, incurring corresponding fees of $148.897.65 for which it now seeks approval.

Joint Liquidators

       During the Tenth Interim Period, the Receiver continued to coordinate its activities with

the Joint Official Liquidators (“JOLs”) appointed by the Chief Justice of the Bahamas Supreme

Court over the BC Capital Group S.A. and BC Capital Group International S.A, including

coordinating with them regarding the wind-down of the liquidation pending there. The Receiver

devoted 1.5 hours to such coordination during the Tenth Interim Period and it seeks approval of

$452.25 in corresponding fees.

       Tax and Corporate Finance

       Finally, during the Tenth Interim Period, the Receiver also reviewed and finalized

receivership tax returns and coordinated funds transfers between bank accounts devoting .5 hours

to such activities and now seeks $150.75 in fees. (The Receiver employs an outside vendor to

prepare such returns and such costs are sought in this application as part of receivership

expenses.)




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       B.      Detailed Description of Activities

       The Receiver has maintained detailed records of the billable time its personnel have

devoted to this matter and for which it is now seeking authority to pay. Attached as Exhibit B to

this application are comprehensive monthly invoices for January 2018 through June 2019 setting

forth the specific tasks performed, and the time spent performing those tasks by the Receiver’s

timekeepers. Such invoices have been prepared consistent with the CFTC’s Billing Instructions.

       C.      Expenses

       For the Tenth Interim Period, the Receiver also seeks its incurred costs totaling

$22,345.2, including $14,560.08 in bank fees principally associated with effecting the

distribution to claimants, $3,954.70 for tax return preparation, $2,108.28 in investigative search

costs, $541.20 for website support, $1,110.19 in postage and delivery charges. See Ex. A (Fund

Balance Report) at 17.) Such expenses reflect the actual costs to the Receiver charged by third

parties without any mark-up interposed by the Receiver.



       In sum, for the 18-month Tenth Interim Period, the Receiver’s personnel devoted 592.80

hours working on behalf of the receivership estate. The Receiver seeks approval of

corresponding fees totaling $160,535.10. Such fees corresponded to an effective blended billing

rate of approximately $270.80 per hour. Such hourly rates are the ordinary rates the Receiver

charges for similar matters and have been repeatedly approved as reasonable by courts. The

Receiver also seeks out-of-pocket expenses of $22,345.32. The Receiver has submitted detailed

records reflecting the specific work performed evidencing that such work was a necessary part of

administering the various facets of this receivership. Accordingly, the Court should approve

such fees and expenses as reasonable and necessary.




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II.    LEGAL FEES AND EXPENSES

       A.      Hiltz Zanzig & Heiligman LLC

       During the Tenth Interim Period, Hiltz Zanzig and Heiligman LLC (“HZH”) served as

the Receiver’s principal domestic legal counsel representing the Receiver in this proceeding as

well as coordinating as necessary with the parties and Receiver’s counsel abroad. HZH

maintained detailed records of the billable time for which the Receiver now seeks authority to

pay. Attached as Exhibit C are invoices prepared by HZH setting forth the specific tasks

performed, and the time spent performing those tasks by HZH’s timekeepers. Below, the

Receiver seeks approval of fees and expenses totaling $85,007.04 for the Tenth Interim Period.

HZ’s services to the receivership estate, during the Tenth Interim Period to include the

following:

       •       Effectuated settlement agreement with BVI Liquidators, including preparing and
               finalizing stipulations withdrawing parties’ respective claims in corresponding
               proceedings.

       •       Drafted and prosecuted motions to approve notice procedures for proposed
               distribution plan.

       •       Worked closely with Receiver’s personnel to prepare and prosecute Receiver’s
               proposed plan of distribution and motion to approve claim amounts.

       •       Conducted negotiations with Maven Liquidator regarding treatment of investors
               who submitted claims based on investments that flowed through Maven entities.

       •       Investigated and responded to concerns raised by Texas counsel regarding
               treatment of class of claimants.

       •       Investigated and responded to various objections to proposed plan of distribution
               and treatment of claims, including working with Receiver’s personnel to
               reconstruct evidence regarding such claims.

       •       Conferred with and advised Receiver regarding miscellaneous matters relating to
               administration of estate, including requests for additional information relating to
               claims.




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       •       Conducted negotiations with Reed Smith regarding turnover of remaining
               amounts held in client trust account.

       •       Appeared on behalf of the Receiver at status hearings before the Court.

       Table 3 below summarizes the HZ personnel who provided services to the receivership

estate during the Tenth Interim Period, their respective billing rate, and the number of hours each

worked.

Table 3:
Summary of Hiltz Zanzig & Heiligman LLC Services Performed, by Individual.
Final Period – January 1, 2018 through June 30, 2019

                        Professional         Rate      Total Hours   Total Fees
                        Blair R. Zanzig      $430        198.30      $85,269.00
                         John F. Hiltz       $430          1.3        $559.00
                      Reed A. Heiligman      $430          1.1        $473.00
                         Alex J. Whitt       $275         28.0       $7,700.00
                                 Subtotal                            $94,001.00
                            Less Discount                            -$9,400.10
                                   TOTAL                  228.7      $84,600.90

       As reflected in Table 3 and in the attached invoices, over the course of the 18-month

Tenth Interim Period, HZH collectively billed 228.7 hours representing the Receiver. Applying

a 10% discount recognizing the public interest, HZ seeks corresponding fees totaling $84,600.90

(an effective billing rate, including all discounts, of approximately $369 per hour).

Additionally, HZH incurred out of pocket expenses of $431.57 for copying and binding costs of

various pleadings and postage.

       HZH’s fees are the ordinary rates HZH charges for similar matters and, in the Receiver’s

experience, are below market rates in this District charged by attorneys of similar experience and

skill. Likewise, in its attached invoices (Exhibit C), HZH detailed the work it performed during

the Tenth Interim Period reflecting that such work was necessary considering the needs of this


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case and performed without unnecessary duplication of effort. Accordingly, the Receiver

requests the Court approve such fees and expenses.

III.     ESTIMATE TO CLOSE

         Finally, the Receiver requests authority to pay reasonable and necessary fees and costs

incurred by the Receiver, its counsel, and other professionals from July 1, 2019 through the close

of the case up to $76,000. In estimating the fees and costs from July 1, 2019 through close, the

Receiver has made the following approximate allocations: (i) $27,500 for Receiver’s fees; (ii)

$10,000 for Receiver’s costs (most of which are on account tax preparation costs charged by

outside vendor); (iii) $18,000 for Receiver’s legal fees and costs; and (iv) $20,000 total for the

fees and costs of PricewaterhouseCoopers Advisory (Bahamas), Ltd. in its capacity as JOL and

its counsel Delaney Partners incurred in connection with the wind-down of the Bahamian

liquidation proceedings.

         The Receiver anticipates that the work performed since July 1 has and will include the

following: Preparing the closing motion and implementing its terms, assisting foreign counsel in

closing the liquidation proceeding pending in the Bahamas, continuing to respond to

miscellaneous inquires related to the receivership including by claimants and others such as the

Maven Liquidator, closing receivership accounts and finalizing receivership accounting,

coordinating preparation of final tax returns, and appearances in Court as necessary. Authorizing

the Receiver to pay the associated fees and costs estimated to close the receivership up to the

foregoing estimated amounts rather than requiring still further fee applications promotes

efficiency and brings finality to the receivership estate.4



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  As part of its closing motion filed concurrently with this motion, the Receiver requests authority
to then turnover the balance of the receivership estate, including any unearned fees to the Plaintiff
CFTC.


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       WHEREFORE, Robb Evans & Associates LLC as Receiver respectfully requests that

the Court enter an order:

       (a)     approving fees of $160,535.10 incurred by Robb Evans & Associates during the
               Tenth Interim Period for actual and necessary professional services, plus
               reimbursement of out-of-pocket costs of $22,345.32;

       (b)     approving the fees and costs of $85,007.04 incurred by Hiltz Zanzig & Heiligman
               LLC during the Tenth Interim Period for actual and necessary professional
               services, plus reimbursement of out-of-pocket costs;

       (c)     authorizing the Receiver to pay all reasonable and necessary fees and expenses
               incurred by its professionals and attorneys from July 1, 2019 through the close of
               the receivership estate up to $76,000;

       (d)     authorizing and directing the Receiver to immediately pay all approved amounts
               from Receivership Assets; and

       (e)     granting such other relief to the Receiver as this Court may deem just and proper.

Dated: August 30, 2019                       Respectfully Submitted,

                                             ROBB EVANS & ASSOCIATES LLC,
                                             RECEIVER

                                             By: /s/ Blair R. Zanzig
                                                            (One of Its Attorneys)

                                             Blair R. Zanzig (No. 6273293)
                                             HILTZ ZANZIG & HEILIGMAN LLC
                                             53 West Jackson Blvd., Suite 701
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                                             Telephone: 312.566.9008
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                                             Counsel for Robb Evans & Associates LLC in its
                                             capacity as Receiver




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                                CERTIFICATE OF SERVICE

       I, Blair R. Zanzig, an attorney, hereby certify that, on the 30th day of August 2019, I
caused a true and correct copy of the foregoing Receiver’s Tenth and Final Fee Application to
be served through the Court’s Electronic Case Filing System on the following:

AUSA – Chicago, usailn.ecfausa@usdoj.gov
Amanda Leigh Burks, hayesdj@sec.gov, sikoraj@sec.gov, mitchelljd@sec.gov
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